                                                                                                 Steve J. Martin
                                                                                                         Monitor
OFFICE OF THE MONITOR                                                                         Anna E. Friedberg
NUNEZ, ET AL. V. CITY OF NEW YORK, ET AL.                                                        Deputy Monitor
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                                                                                       September 19, 2017
Via ECF
The Honorable Laura T. Swain
United States District Court, Southern District of New York
500 Pearl Street
New York, NY 10006

Re: Nunez, et al. v. City of New York, et al., 11-cv-5845 (LTS) (JCF)

Dear Judge Swain:

           We write to advise the Court that Plaintiffs’ Class Counsel and the United States
Attorney’s Office for the Southern District of New York have notified the Monitoring
Team that they have agreed to maintain the confidentiality of the reports prepared by the
Department’s Use of Force Auditor pursuant to § X (Risk Management), ¶ 3.1 The
agreement regarding the use of the Department’s Use of Force Auditor Reports now
completes the set of agreements the Monitoring Team previously advised the Court about
on September 19, 2016 (docket entry 290) regarding the above-mentioned persons or
entities’ use of: 1) the draft Monitor’s reports; 2) the narrative description of the
Department’s Compliance Reports2; and 3) the information produced by the Department
in connection with the Compliance Reports3. Exhibit 1 to this letter provides a
comprehensive table of all the agreements that have been reached.
           Please do not hesitate to contact us if you have any questions or require further
information.
                                                        Sincerely,
                                                        s/ Steve J. Martin
                                                        Steve J. Martin, Monitor
                                                        Anna E. Friedberg, Deputy Monitor




1
 The Use of Force Auditor Reports are produced to the Parties and the Monitoring Team pursuant to § XIX
(Reporting Requirements and Parties’ Right of Access), ¶ 4(c)(viii).
2
    § XIX (Reporting Requirements and Parties’ Right of Access), ¶ 4(a)
3
    § XIX (Reporting Requirements and Parties’ Right of Access), ¶ 4(b), 4(c), 4(d).
                                                                                 Exhibit 11

                                                                     Agreement of Use of:
                                                                  (1) draft Monitor’s reports;
                                         (2) the narrative description of the Department’s Compliance Reports; and
                               (3) the information produced by the Department in connection with the Compliance Reports
                                                                   as of September 15, 20172

                                                                                   Legend

                                                                                           The blue box means that the information is not confidential, but the Parties
                                                                                           have agreed not to use the information during the period between the issuance
              The red box means the information                                            of the Department’s Compliance Report and the filing of the Monitor’s
Category 1                                                          Category 2
              is confidential                                                              Report with the Court as defined by § XIX (Reporting Requirements and
                                                                                           Parties’ Right of Access), ¶¶ 1 and 17. The information is not confidential
                                                                                           after the filing of the Monitor’s Report.

              The green box means the information identified in the “Description” column is not confidential and may be used to inform discussions or responses
              to inquires related to the City Jails during the period between the issuance of the Department’s Compliance Report and the filing of the Monitor’s
              Report with the Court. However, the information identified in the “Status of Confidentiality” column may not be disclosed during the period
Category 3
              between the issuance of the Department’s Compliance Report and the filing of the Monitor’s Report with the Court as defined by § XIX (Reporting
              Requirements and Parties’ Right of Access), ¶¶ 1 and 17. The information is not confidential after the filing of the Monitor’s Report. Further, the
              underlying documents with the raw data will not be publicly posted or provided to any third parties.

      1
        This agreement is not intended to preclude the Monitor from developing or incorporating information in the Monitor Report filed with the Court that he deems
      appropriate to fulfill his responsibilities under the Consent Judgment and consistent with the obligations in Section XX (Monitoring), Paragraph 17. Further, this
      agreement is not intended to preclude the Department from using its own information for any purpose outside this litigation, including any public reporting that
      the Department is required to publicly report as part of the ordinary course of business, as contemplated by the Protective Order previously entered in this case
      (Dkt. 89, ¶ 9 at pg. 5). To the extent that the Department publicly reports data or information as part of the ordinary course of business, this agreement does not
      prohibit the Parties from discussing that data or information once it has become publicly available.
      2
        This chart was originally shared with the Court on September 19, 2016 (docket entry 290). This chart has been revised to include three updates: (1) the
      agreement regarding the Use of Force Auditor Reports (§ XIX, ¶ 4.c.viii.), (2) the legend now references to the Consent Judgment regarding the timing for the
      devleopment of the Monitor’s Report (§ XIX (Reporting Requirements and Parties’ Right of Access), ¶¶ 1 and 17) and (3) the specific number of days to develop
      the Monitor’s Report have been removed because the time to develop the Monitor’s Report has been modified pursuant to the August 11, 2017 Order by the
      Court (docket entry 303). The time to develop the Monitor’s Report may be calculated pursuant to § XIX, ¶¶ 1 and 17.
                                                                                                                                                  Corresponding
                                                                                                                              Consent
                                                                                                                                                  Compliance
Description                                                                           Status of Confidentiality               Judgment
                                                                                                                                                  Report
                                                                                                                              Provision
                                                                                                                                                  Appendix
Draft Monitor’s Report                                                                Confidential (Category 1)               § XX, ¶ 17
Compliance Report Narrative
The narrative portion of the Compliance Report is confidential. Plaintiffs and DOJ
will have the opportunity during the comment period to the draft Monitor’s Report
to request the Monitor incorporate factual points from the narrative into the
Monitor’s Report (assuming the Report does not already incorporate those facts). If
                                                                                      Confidential (Category 1)               § XIX, ¶ 4.a.
the requested facts are not ultimately included in the Final Monitor’s Report, then
Plaintiffs and DOJ may have the opportunity to ask the Monitor and the Department
if the fact(s) may be made public after the Monitor’s Report is issued. It is
contemplated that these types of factual issues will be non-controversial (i.e. the
number of staff in the Trials & Litigation Division).
                                                                                      Not Confidential, but information
                                                                                      categorized by age shall not be
Number of Use of Force Incidents by Status, Facility, and Injury Class during the     discussed during Period of
                                                                                                                              § XIX, ¶ 4.b.i.     Appendix A
Reporting Period.                                                                     development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
                                                                                      No discussion during Period of
                                                                                      development of Monitor Report, but is
Average Daily Population by Facility and Inmate Age Category.                                                                 § XIX, ¶ 4.b.ii.    Appendix B
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
                                                                                      No discussion during Period of
Average Staffing Levels by Facility, Rank, and Inmate Age Category during the         development of Monitor Report, but is
                                                                                                                              § XIX, ¶ 4.b.iii.   Appendix C
Reporting Period.                                                                     not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
                                                                                      No discussion during Period of
Average Staff on Probationary Status Assigned on Regular Basis to Housing Units       development of Monitor Report, but is
                                                                                                                              § XIX, ¶ 4.b.iv.    Appendix D
for 16-17 Year Old Inmates by Facility and Rank during the Reporting Period.          not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
Number of Inmates Injured in Use of Force Incidents by Incident Status, Facility,     Not Confidential, but information       § XIX, ¶ 4.b.v.     Appendix E
and Injury Class during the Reporting Period.                                         categorized by age shall not be
                                                                                      discussed during Period of
                                                                                      development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
The number of inmate-on-inmate assaults and fights involving Young Inmates, the       No discussion during Period of
number of Young Inmates who were injured in such assaults or fights, and the          development of Monitor Report, but is
                                                                                                                              § XIX, ¶ 4.b.vi.   Appendix F
number of Young Inmates who suffered Class A Injuries in such assaults or fights      not confidential after filing of
during the Reporting Period.                                                          Monitor’s Report (Category 2)
                                                                                      No discussion during Period of
The number of staff injuries resulting from Use of Force Incidents during the         development of Monitor Report, but is   § XIX, ¶
                                                                                                                                                 Appendix G
Reporting Period.                                                                     not confidential after filing of        §4.b.vii.
                                                                                      Monitor’s Report (Category 2)
                                                                                      No discussion during Period of
                                                                                                                              § XIX, ¶
The number of cell extractions involving use of chemical agents only and no other     development of Monitor Report, but is
                                                                                                                              4.b.viii. & §      Appendix H
Use of Force during the Reporting Period.                                             not confidential after filing of
                                                                                                                              XIX, ¶ 4.b.ix.
                                                                                      Monitor’s Report (Category 2)
                                                                                      Not Confidential, but information
                                                                                      categorized by age shall not be
Number of Use of Force Incidents Referred for Full ID Investigation by Incident       discussed during Period of
                                                                                                                              § XIX, ¶ 4.b.x.    Appendix I
Status and Facility during the Reporting Period.                                      development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
                                                                                      Not Confidential, but information
                                                                                      categorized by age shall not be
                                                                                      discussed during Period of
Number of Full ID Investigations Closed by Facility during the Reporting Period.                                              § XIX, ¶ 4.b.xi.   Appendix J
                                                                                      development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
Use of Force numbers and dates of Use of Force incidents that remain open as of the
                                                                                      Confidential (Category 1)               § XIX, ¶ 4.c.i.    Appendix K
end of the Reporting Period.
                                                                                      Not Confidential, but information
                                                                                      categorized by age shall not be
Total number of Full ID Use of Force Investigations open cases by quarter and year
                                                                                      discussed during Period of              § XIX, ¶ 4.c.i.    Appendix K
as of the end of the Reporting Period.
                                                                                      development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
                                                                                                                              § XIX, ¶
Use of Force Investigations (Facility & ID) with Conclusion of Violation except for
                                                                                                                              4.c.ii.1. &
aggregate data and qualitative analysis developed by Monitor and reported in          Confidential (Category 1)                                   Appendix L
                                                                                                                              § XIX, ¶
Monitor’s Report.
                                                                                                                              4.c.ii.2.
Number of Staff who have received Counseling Meetings by facility and rank. The
                                                                                      Confidential (Category 1)               § XIX, ¶ 4.c.iii.   Appendix M
shield numbers of Staff and the dates of Counseling Meetings.
                                                                                      No discussion during Period of
Total number of Staff system-wide who were counseled in the reporting period          development of Monitor Report, but is
                                                                                                                              § XIX, ¶ 4.c.iii.   Appendix M
during the Reporting Period.                                                          not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
Number of wall mounted video surveillance cameras installed by facility.              Confidential (Category 1)               § XIX, ¶ 4.c.iv.    Appendix N
The total number of cameras installed system-wide during the Reporting Period.        Not Confidential (Category 3)           § XIX, ¶ 4.c.iv     Appendix N
Location of inoperable wall mounted video surveillance cameras and length of time
                                                                                      Confidential (Category 1)               § XIX, ¶ 4.c.v.     Appendix O
the cameras have been inoperable.
                                                                                      No discussion during Period of
Total number of inoperable video surveillance cameras system wide during the          development of Monitor Report, but is
                                                                                                                              § XIX, ¶ 4.c.v.     Appendix O
Reporting Period.                                                                     not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
Names of Inmates placed in Punitive Segregation or Isolation.                         Confidential (Category 1)               § XIX, ¶ 4.c.vi.    Appendix P
 • Number of 18-year-old inmates placed in Punitive Segregation or Isolation
     during the Reporting Period.
                                                                                      No discussion during Period of
 • Reasons for the confinement (i.e., the nature of the Inmate’s infraction) of the
                                                                                      development of Monitor Report, but is
     18-year-old inmates, but no identifying information during the Reporting                                                 § XIX, ¶ 4.c.vi.    Appendix P
                                                                                      not confidential after filing of
     Period.
                                                                                      Monitor’s Report (Category 2)
 • Number of 18 year old inmates placed in Punitive Segregation or Isolation that
     suffer from a mental illness during the Reporting Period.
Any quarterly reports prepared by the UOF Auditor and referenced in Paragraph                                                 § XIX, ¶
                                                                                      Confidential (Category 1)                                   Appendix R
3(c) of Section X (Risk Management).                                                                                          4.c.viii.
                                                                                      No discussion during Period of
A summary of the training provided to Staff Members pursuant to the Consent
                                                                                      development of Monitor Report, but is   § XIX, ¶
Judgment, including the name of each training course provided and the number of                                                                   Appendix Q
                                                                                      not confidential after filing of        4.c.vii.
Staff who successfully completed the course during the Reporting Period.
                                                                                      Monitor’s Report (Category 2)
Names and ranks of Staff assigned to Work Regularly in Young Adult Housing
                                                                                      Confidential (Category 1)               § XIX, ¶ 4.c.ix.    Appendix S
Area.
                                                                   No discussion during Period of
                                                                   development of Monitor Report, but is
Summary of Young Inmate Programming during the Reporting Period.
                                                                   not confidential after filing of
                                                                   Monitor’s Report (Category 2)
